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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION

                                                                                 JUN j ^92007
UNITED STATES OF AMERICA,
                                                                         [
                                                          CASE N0.3:07CR120-01

ERIC DWAYNE HARMON
                       Defendant.



            REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

       This matter is before the court pursuant to Title 28 U.S.C. § 636(b)(l)(B) and (b)(3) upon

the Defendant's request to enter a plea of guilty pursuant to Fed. R. Crim. P. 11 and an oral

recitation and the statement of facts that have been agreed upon by the United States and the

Defendant. The matter was presented to the court upon the written consent of the Defendant and

counsel for the Defendant to proceed before a United States Magistrate Judge, said consent

including the Defendant's understanding that he consented to not only having the Magistrate

Judge conduct the hearing and enter any order of forfeiture, if applicable, but also to having the

Magistrate Judge make necessary findings and accepting any guilty plea as may be entered that

could not be withdrawn except for fair and just reason.

         The Defendant pled guilty to Counts One and Two of the Indictment in open court and

pursuant to a Rule 11 inquiry. Upon consideration of the responses and statements made by the

Defendant under oath, on the record, and based upon the oral recitation and statement of facts

presented, the court makes the following findings:


       1.      That the Defendant is competent to enter a plea of guilty;

       2.      That the Defendant understands the nature of the charge against him to which his
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          plea is offered;


    3.    That the Defendant understands what the maximum possible penalties are upon

          conviction of the offense charged, including any mandatory minimum periods of

          confinement, the effect of any required term of supervised release, the loss of

          various civil rights (if applicable, including the right to vote, the right to hold

          public office, the right to own and possess a firearm), the possibility of adverse

          immigration consequences (if applicable), the required imposition of a special

          assessment, forfeiture of real and/or personal property (if applicable), and

          restitution (if applicable);


    4.    That the sentencing court has jurisdiction and authority to impose any sentence

          within the statutory maximums provided, but that the court will determine the

          defendant's actual sentence in accordance with 18 U.S.C. § 3553(a) and that the

          court, after considering the factors set forth in 18 U.S.C. § 3553(a), may impose a

          sentence above or below the advisory sentencing range, subject only to review by

          higher courts for reasonableness;

    5.    That the Defendant understands his right to persist in a plea of not guilty and

          require that the matter proceed to trial with all the rights and privileges attending a

          trial, including, but not limited to: the right to effective assistance of counsel; the

          right to use the power and processes of the court to compel evidence on the

          Defendant's behalf; the right to confront and cross-examine adverse witnesses; the

          right to present relevant evidence; the right to remain silent; and the right to trial

          by jury;


    6.    That the plea of guilty entered by the Defendant was knowingly and voluntarily
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               entered and is not the result offeree or intimidation of any kind; and

        7.     That the plea of guilty entered by the Defendant was knowingly and voluntarily

               made with full knowledge of the consequences and with an independent basis in

               fact to support said plea.


       Accordingly, the court accepted the Defendant's plea of guilty to Counts One and Two of

the Indictment and entered judgment of guilt on the subject charge. It is therefore the

recommendation of this court that its findings, including the acceptance of the Defendant's pleas

of guilty and resulting judgment of guilt, be adopted.




                                                                       /s/
                                                         M. Hannah Lauck
                                                         United States Magistrate Judge



Dated: June 19,2007
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                                            NOTICE


        The Defendant is advised that he/she may file specific written objection to this
report and recommendation with the court within ten (10) days of this date. If objection is

noted, the party objecting must promptly arrange for the transcription of the relevant
record and file it forthwith with the court for its use in any review. Failure to object in

accordance with this notice, including the requirement for preparation of a transcription of
the relevant portions of the record, will constitute a waiver of any right to de nova review of
the matter and may result in adoption of the recommendation, including the finding of
guilt as entered by the magistrate judge.
